10/16/24, 6:07 PM    Case 3:24-mc-80266-JCSCM/ECF
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                                                                                  District of New Jersey


    10/01/2024            82 TEXT ORDER: Due to Defendant Danis's failure to appear before this Court on October
                             1, 2024, the hearing will resume at 9:00 a.m. on October 2nd. Mr. Danis must appear for
                             the conference in person, with no exceptions. So Ordered by Magistrate Judge Michael
                             A. Hammer on 10/1/2024. (Hammer, Michael) (Entered: 10/01/2024)




https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?216542590778699-L_1_0-1                                                 1/1
